 8:06-cr-00184-LES-TDT       Doc # 45    Filed: 11/03/06   Page 1 of 1 - Page ID # 123




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )
                                          )           8:06CR184
                    Plaintiff,            )
                                          )
      vs.                                 )            ORDER
                                          )
GREGG STEVENSON,                          )
                                          )
                    Defendant.            )


      The oral motion to continue made by the parties is granted.

       The evidentiary hearing on all pending motions is continued to November 20, 2006,
at 1:00 p.m. before the undersigned magistrate judge, in Courtroom No. 7, Second Floor,
Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha, Nebraska.

       This being a criminal case, the defendant must be present unless otherwise ordered
by the court.

      DATED this 3rd day of November, 2006.
                                               BY THE COURT:


                                               s/ Thomas D. Thalken
                                               United States Magistrate Judge
